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 1
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12   Attorneys for Defendant
     MONSANTO COMPANY
13

14                              UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
16                                             )
     IN RE: ROUNDUP PRODUCTS                   ) MDL No. 2741
17                                             )
     LIABILITY LITIGATION
                                               ) Case No. 3:16-md-02741-VC
18                                             )
                                               ) DECLARATION OF BRIAN L.
19                                             ) STEKLOFF IN SUPPORT OF
     Hardeman v. Monsanto Co., et al.,         ) MONSANTO COMPANY’S
20   3:16-cv-0525-VC                           )
     Stevick v. Monsanto Co., et al.,          ) OPPOSITION TO PLAINTIFF’S
21                                             ) MOTION IN LIMINE NO. 3 TO
     3:16-cv-2341-VC
                                               ) EXCLUDE ANY EVIDENCE AND
22   Gebeyehou v. Monsanto Co., et al.,        ) TESTIMONY REGARDING THE
     3:16-cv-5813-VC                           ) EFFICACY AND BENEFITS OF
23                                             ) GLYPHOSATE______________________
                                               )
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                                      STEKLOFF DECLARATION –
          OPP. TO PL.’S MOTION IN LIMINE NO. 3 RE: EFFICACY AND BENEFITS OF GLYPHOSATE
                   3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
              Case 3:16-md-02741-VC Document 2593-1 Filed 01/30/19 Page 2 of 4




 1            I, Brian L. Stekloff, hereby declare as follows:
 2            1.     I am a partner at the law firm of Wilkinson Walsh + Eskovitz LLP, counsel for
 3   defendant Monsanto Company (“Monsanto”). I make this declaration in support of Monsanto’s
 4   Opposition to Plaintiff’s Motion in Limine No. 3 Regarding the Efficacy and Benefits of
 5   Glyphosate. I make this declaration based on my personal knowledge and, if called as a witness,
 6   I would and could testify competently to these matters.
 7            2.     Annexed hereto as Exhibit 1 is a true and correct copy of the Order Denying
 8   Monsanto’s Motion for Continuance of Trial Date And Re: Motions In Limine from Dewayne
 9   Johnson v. Monsanto Company, Case No. CGC-16-550128 (Cal. Super. Ct.), dated April 3,
10   2018.
11            3.     Annexed hereto as Exhibit 2 is a true and correct copy of excerpted portions of
12   the deposition of Edwin Hardeman dated November 8, 2019.
13            4.     Annexed hereto as Exhibit 3 is a true and correct copy of excerpted portions of
14   the deposition of Elaine Stevick dated November 9, 2018.
15            5.     Annexed hereto as Exhibit 4 is a true and correct copy of excerpted portions of
16   the deposition of Sioum Gebeyehou dated November 13, 2018.
17            6.     Annexed hereto as Exhibit 5 is a true and correct copy of excerpted portions of
18   the expert report of Dr. William Sawyer dated November 20, 2018.
19            7.     Annexed hereto as Exhibit 6 is a true and correct copy of excerpted portions of
20   the expert report of Dr. Kassim Al-Khatib, undated.
21            8.     Annexed hereto as Exhibit 7 is a true and correct copy of excerpted portions of
22   the expert report of Dr. Beate Ritz dated May 1, 2017.
23            9.     Annexed hereto as Exhibit 8 is a true and correct copy of excerpted portions of
24   the expert report of Dr. Brad Hanson dated November 27, 2018.
25            10.    Annexed hereto as Exhibit 9 is a true and correct copy of excerpted portions of
26   the expert report of Dr. Charles Benbrook dated November 10, 2018.
27            11.    Annexed hereto as Exhibit 10 is a true and correct copy of Glyphosate: A Once-in-
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                                         STEKLOFF DECLARATION –
             OPP. TO PL.’S MOTION IN LIMINE NO. 3 RE: EFFICACY AND BENEFITS OF GLYPHOSATE
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 1   a-Century Herbicide, 64 Pest Management Science by Drs. Stephen O. Duke and Stephen B.
 2   Powles, 64 Pest Management Science 319, dated 2008.
 3

 4   Executed this 30th day of January 2019.
 5                                             /s/ Brian L. Stekloff___________
 6
                                               Brian L. Stekloff (pro hac vice)
 7                                             (bstekloff@wilkinsonwalsh.com)
                                               Rakesh Kilaru (pro hac vice)
 8                                             (rkilaru@wilkinsonwalsh.com)
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                                               MONSANTO COMPANY
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          OPP. TO PL.’S MOTION IN LIMINE NO. 3 RE: EFFICACY AND BENEFITS OF GLYPHOSATE
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            Case 3:16-md-02741-VC Document 2593-1 Filed 01/30/19 Page 4 of 4




 1                                    CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 30th day of January 2019, a copy of the foregoing was
 3   filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all
 4   appearing parties of record.
 5

 6                                                 /s/ Brian L. Stekloff___________
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                    3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
